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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 JAMES POMPEY,                                                     JUDGMENT
                                                                   16-CV- 2070 (LDH)
                                    Plaintiff,

         -against-

 SK ASTORIA REALTY, LLC and THE AIRLINE
 RESTAURANT CORP.,

                                     Defendants.
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                  A Memorandum of Decision and Order of Honorable LaShann DeArcy Hall,

 United States District Judge, having been filed on May 18, 2017, granting Defendant SK

 Astoria’s motion to dismiss the Complaint; and granting Defendant Airline’s motion for

 judgment on the pleadings; it is

                  ORDERED and ADJUDGED that Defendant SK Astoria Realty, LLC’s motion to

 dismiss the Complaint is granted; and that Defendant The Airline Restaurant Corp.’s motion for

 judgment on the pleadings is also granted.

 Dated: Brooklyn, New York                                               Douglas C. Palmer
        May 19, 2017                                                     Clerk of Court

                                                                   by:   /s/ Janet Hamilton
                                                                         Deputy Clerk
